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UNITED STATES DISTRICT COURT c

DISTRICT OF OREGON

KELSEY CASCADIA ROSE JULIANA;
XIUHTEZCATL T()NATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,

Plaintiffs,

V.

The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as

President of the United States; et al.,

Defendants.

Case No.: 6:15-cv-O1517-TC

DECLARATION OF DR. FRANK
ACKERMAN in Support of Plaintiffs’
Response in Opposition to Defendants’
Motion for Summary Judgment

Declaration of Dr. Frank Ackerman in Support of Plaintiffs’ Response in Opposition to

Defendants’ Motion for Summary Judgment

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I, Dr. Frank Ackerman, hereby declare and if called upon would testify as folloWs:

1. l have been retained as an expert on behalf of Plaintiffs in this matter.

2. I have prepared an expert report for this litigation (“Expert Report”), a true and correct copy
of Which is attached hereto as Exhibit 1. My Expert Report is signed by me. A copy of my
Expert Report Was served on Defendants on April 13, 2018.

3. My Expert Report contains:

a. a complete statement of all opinions l Will express at trial and the basis and reasons
for these opinions;

b. the facts or data considered by me in forming my opinions;

c. any exhibits that I currently plan to use to summarize or support my opinions;

d. my qualifications, including a list of all publications authored by me in the previous
10 years;

e. a list of all other cases in Which, during the previous 4 years, l testified as an expert at
trial or by deposition, if any; and

f. a statement of the compensation to be paid for the study and testimony in the case.

4. If called to testify in this matter, I Would provide testimony as described in the attached
Expert Report.

In accordance With 28 U.S.C. § 1746, l declare under penalty of perjury that the
foregoing is true and correct.

DATED this 93 day ofJune, 2018.

Respegtiillly submitted,

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Dr. Frank Ackerman

   

Declaration of Dr. Frank Ackerman in Support of Plaintiffs’ Response in Opposition to 2
Defendants’ Motion for Summary Judgment

